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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 21-CV-60825-RUIZ


  UNITED STATES,

         Plaintiff,
  v.

  ROGER J. STONE, et al.,

         Defendants.
                                       /

                                      ORDER OF RECUSAL

         The undersigned judge, to whom the above-styled cause has been assigned, hereby recuses

  himself and refers the case to the Clerk of Court for reassignment pursuant to 28 U.S.C. § 455 and

  Internal Operating Procedure 2.16.00 for the Southern District of Florida.

         DATED in Fort Lauderdale, Florida, this 16th day of June 2021.




         In accordance with the Local Rules for the Southern District of Florida, providing

  for   the random and equal allotment of cases, this cause will be reassigned to

  Magistrate Judge Lurana S. Snow.
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         Copies of this Notice shall be served on all pending parties of record in accordance with

  CM/ECF Administrative Procedures.

         By Order of the Court this 16th day of June, 2021.

                                               ANGELA E. NOBLE
                                               Clerk of Court

                                               /s/ John M. Ditullio

                                               By: Deputy Clerk

  Copies to:

  Roldolfo A. Ruiz, II, United States District Judge
  Jared M. Strauss, United States Magistrate Judge
  Lurana S. Snow, United States Magistrate Judge
  All Counsel of Record and/or Pro Se Parties




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